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May 7, 2019

The Honorable Edgardo Ramos
U.S. District Judge

Thurgood Marshall U.S. Courthouse
Courtroorn 619

40 Foley Square

New York, NY 10007

Re: Donald J. Trump et al. v. Deutsche Bank_, AG et al.
No. 1:19-cv-03826-ER

Dear Judge Ramos:

This firm represents Defendant Capital One Financial Corp. (“Capital One”) in the
above-referenced matter. Plaintiffs filed a letter With the Court dated May 3, 2019, seeking “an
order requiring the lntervenor-Defendant Committees to give Plaintiffs copies of the subpoenas”
at issue in this case. The Court directed Defendants to submit responses to Plaintiffs’ letter by
close of business on May 7, 2019.

Defendant Capital One takes no position With respect to Plaintiffs’ request for an order
requiring the lntervenor-Defendant Comrnittees to provide copies of the subpoenas

Ve truly yours,

  

James A. Murphy

JAM/ses

 

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